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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 In re:                                                              Chapter 11

 Genever Holdings LLC,                                               Case No. 20-12411 (JLG)

                          Debtor.                                    Re: ECF No. 211


                  OBJECTION OF BRAVO LUCK LIMITED TO
            JOINT MOTION OF (A) GENEVER HOLDINGS LLC AND
(B) LUC A. DESPINS AS CHAPTER 11 TRUSTEE FOR ESTATE OF HO WAN KWOK
  TO TRANSFER, PURSUANT TO 28 U.S.C. §§ 1408 AND 1412 AND BANKRUPTCY
   RULE 1014(a), VENUE OF CHAPTER 11 CASE OF GENEVER HOLDINGS LLC
         TO BANKRUPTCY COURT FOR DISTRICT OF CONNECTICUT

                       Bravo Luck Limited (“Bravo Luck”), by and through its counsel, hereby objects

(this “Objection”)1 to the Joint Motion of (A) Genever Holdings LLC and (B) Luc A. Despins as

Chapter 11 Trustee for Estate of Ho Wan Kwok to Transfer, Pursuant to 28 U.S.C. §§ 1408 and

1412 and Bankruptcy Rule 1014(a), Venue of Chapter 11 Case of Genever Holdings LLC to

Bankruptcy Court for District of Connecticut (ECF No. 211) (the “Motion”)2 filed by Genever



            1
           By filing this Objection, Bravo Luck does not submit to general bankruptcy or United States jurisdiction.
This Objection is only to be construed as a limited appearance of Bravo Luck necessitated by the Motion’s potential
effect on Bravo Luck and in order for Bravo Luck to protect its rights as a major party-in-interest in this bankruptcy
case. Bravo Luck does not waive, and specifically preserves, all of its procedural and substantive defenses to any
claims that may be asserted against Bravo Luck by any party in this case.

            2
                Capitalized terms used but not defined herein shall be ascribed the definitions provided to them in the
Motion.



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Holdings LLC (the “Debtor” or “Genever (US)”) and Luc A. Despins (the “Trustee” and, together

with the Debtor, the “Movants”). In support of this Objection, Bravo Luck respectfully states as

follows:

                                PRELIMINARY STATEMENT

               1.      The Motion to transfer venue of the Genever (US) Case—which has been

pending before this Court for two years—is replete with conjecture and innuendo of unfounded

and unproven allegations of the ownership structure of Bravo Luck and the Debtor. The Movants

also attempt to influence this Court’s perception of Bravo Luck and its sole shareholder, Qiang

Guo, by interjecting wholly unrelated litigation related to the Lady May. The Lady May, its

ownership structure, and its involvement in the Individual Debtor Case have nothing to do with

the Genever (US) Case, and certainly nothing to do with Bravo Luck’s ultimate equitable

ownership of the Sherry-Netherland Apartment, which is located in Manhattan, not Connecticut.

               2.      The Trustee suggests that the bar date notice in the Genever US Case not

being sent to the Individual Debtor’s alleged creditors is also a reason to change venue. This is

just one of the many red herring arguments made by the Trustee, who ignores the fact that Genever

(US) is a second tier downstream subsidiary of a holding company whose ownership remains in

dispute. There is no reason to assume, nor has it been proven, that the Individual Debtor’s creditors

are creditors of Genever (US). None of the Individual Debtor’s creditors, other than PAX, hold

judgments against the Individual Debtor, let alone Genever (US). Moreover, PAX itself does not

hold a judgment against Genever (US) and likely does not hold any claim against Genever (US)

whatsoever.

               3.      The ownership dispute (the “Ownership Dispute”)—whereby (i) Bravo

Luck assets that it is the beneficial owner of the Sherry-Netherland Apartment inasmuch as the

shares of Genever (US) and Genever Holdings Corporation and any assets held in their names

(“Genever BVI” collectively with Genever (US), the “Genever Entities”) were merely held in trust
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by the Individual Debtor3 for Bravo Luck’s benefit; and (ii) PAX asserts that the Individual Debtor

is the owner of the Genever Entities, which are mere alter egos of the Individual Debtor—is on

track to be resolved through the litigation4 currently pending in the Eastern Caribbean Supreme

Court, Virgin Islands, In the High Court of Justice, Commercial Division at Index. No.

BVIHCM2020/0137 (the “BVI Litigation”). The BVI litigation was commenced by PAX, whose

interests appear wholly aligned with that of the Trustee. Bravo Luck contends that the parties to

the Genever Settlement Agreement, approved after months of litigation before this Court,

effectively determined that the Ownership Dispute would go forward and be resolved in the British

Virgin Islands (the “BVI”) and, therefore, cannot and should not now, after two years, form the

basis for transferring venue to the Connecticut Bankruptcy Court where the Individual Debtor Case

is being administered.

                  4.       Furthermore, on October 11, 2022, the Debtor commenced an adversary

proceeding against Bravo Luck in this Court seeking to invalidate the Trust Agreement and,

alternatively, asserting a fraudulent transfer claim against Bravo Luck (i.e., the adversary

proceeding implicates the Ownership Dispute). See ECF No. 214; Adv. Pro. No. 22-01157 (JLG)

(ECF. No. 1) (the “Genever (US) Complaint”). The commencement of this action in this Court

directly contravenes the understanding of the parties to the Genever Settlement Agreement—

which included the Debtor—that the Ownership Dispute was to be decided outside of a bankruptcy

court. Therefore, the Debtor (and by virtue of directing the Debtor’s actions, the Trustee) has

directly teed up a dispute over the intention of the Genever Settlement Agreement and its effect on


            3
           It is Bravo Luck’s position that the Trustee merely stepped into the Individual Debtor’s shoes and, thus, is
also holding the Genever Entities’ shares in trust for Bravo Luck’s benefit.

            4
          Some related alter ego claims of PAX against the Individual Debtor and the Genever Entities are pending
in the Supreme Court, New York County (the “New York Supreme Court”) at Index No. 652077/2017 (the “New
York Action”).



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what forum may hear the Ownership Dispute. Because this Court is in the best position to interpret

its own Settlement Order and the Genever Settlement Agreement, the Motion to transfer venue

should be denied—certainly, at least until this dispute as to the appropriate forum for the

Ownership Dispute is heard and determined.

                   5.       The Genever (US) Case has proceeded in an orderly and efficient manner

with a minimum of unnecessary administrative costs. If this case is moved to the Connecticut

Bankruptcy Court and tangled up in what appears to be blood sport between the Trustee and the

Individual Debtor, the cost and delay of resolving what is a discrete issue will be overwhelming

and detrimental to all involved.

                   6.       As outlined in detail below, judicial economy and administrative

efficiency—the primary factors for determining both the interests of justice and convenience of

the parties—are better served by allowing the Genever (US) Case to proceed before this Court.

This is particularly so because this Court is the most appropriate and efficient venue to resolve

disputes concerning the interpretation of its Settlement Order, which based on the Movants’

position as set forth in the Motion and evidenced by the Genever (US) Complaint against Bravo

Luck, is a central issue between the Debtor and Bravo Luck.

                                                     OBJECTION

I.          Transfer of the Venue of the Debtor’s Bankruptcy Case is Not in the Interest of
            Justice or for the Convenience of the Parties.

                   7.       Section 14125 of title 28 of the United States Code provides discretion to

this Court to decide to transfer this case to another district, but even if some factors weigh in favor

of a transfer “in the interest of justice or for the convenience of the parties,” by the plain language

of section 1412, the Court is not required to transfer venue. Furthermore, the Movants have the


          5
            “A district court may transfer a case or proceeding under title 11 to a district court for another district, in
the interest of justice or for the convenience of the parties.” 28 U.S.C. § 1412 (emphasis added).

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burden of establishing, by a preponderance of the evidence, that the case warrants transfer to a new

venue.6 See, e.g., In re Enron Corp., 274 B.R. 327, 342 (Bankr. S.D.N.Y. 2002). Ultimately,

whether venue of a bankruptcy case should be transferred is a fact-intensive, case-by-case

determination, which “is not to be taken lightly.” Id. (citing Commonwealth of Puerto Rico v.

Commonwealth Oil Refining Co. (In re Commonwealth Oil Refining Co.), 596 F.2d 1239, 1241

(5th Cir. 1979) (“CORCO”) (“the court should exercise its power to transfer cautiously”); In re

Pavilion Place Associates, 88 B.R. 32, 35 (Bankr. S.D.N.Y. 1988) (“Transfer is a cumbersome

disruption of the Chapter 11 process.”)); see also In re Kona Joint Venture I, Ltd., 62 B.R. 169,

172 (Bankr. D. Haw. 1986) (“The resolution of an issue of venue is left to the sound discretion of

the trial court based on its understanding of the requirements of the particular case in the context

of Chapter 11 reorganization, but the power of the court to transfer venue should be exercised

cautiously.”) (internal citations omitted) (citing In re Dahlquist, 34 B.R. 476, 485 (Bankr. D.S.D.

1983) and In re Island Club Marina, Ltd., 26 B.R. 505, 507 (Bankr. D. Haw. 1981)).

                   8.      The Movants correctly outline the factors to be balanced in consideration of

a motion to transfer venue either in the interest of justice or for the convenience of the parties, see

Motion, ¶¶ 12, 43, however, such factors clearly weigh in favor of not transferring the Genever

(US) Case to the Connecticut Bankruptcy Court—especially in light of case law that

overwhelmingly guides courts to exercise venue transfer with caution. See supra, ¶ 7.

            A.     Transfer of this Case is Not in the Interest of Justice.

                           9.      When evaluating whether a transfer of venue would be in the interest

            of justice, courts consider the following factors:


            6
          The Movants make a conclusory allegation that “Connecticut is a proper venue for the Genever (US) Case
under 28 U.S.C. § 1408 because the Individual Debtor is an affiliate of Genever (US).” Motion, ¶ 31. The Movants
must establish that Genever (US) is an “affiliate” of the Individual Debtor as that term is defined in the Bankruptcy
Code. The Motion entirely fails to address or support this issue; therefore, nothing in this Objection should be
construed as a waiver of any potential objection by Bravo Luck to the argument that the Individual Debtor and Genever
(US) are “affiliates.”

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                          (1) whether transfer would promote the economic and efficient
                              administration of the bankruptcy estate;
                          (2) whether the interests of judicial economy would be served by the
                              transfer;
                          (3) whether the parties would be able to receive a fair trial in each of the
                              possible venues;
                          (4) whether either forum has an interest in having the controversy decided
                              within its borders;
                          (5) whether the enforceability of any judgment would be affected by the
                              transfer; and
                          (6) whether the plaintiffs original choice of forum should be disturbed.

In re Dunmore Homes, Inc., 380 B.R. 663, 672 (Bankr. S.D.N.Y. 2008) (citing In re Enron Corp.,

317 B.R. at 638-39). Additionally, “courts consider the ability of interested parties to participate

in the proceedings and the additional costs that might be incurred to do so.” Id.

                 i.       Economic and Efficient Administration and Judicial Economy

                 10.      The Movants argue that there is overlap between the Genever (US) Case

and the Individual Debtor Case that necessitate coordination in one forum. This argument, which

is based entirely upon supposition, ignores the fact that the Genever (US) Case has been pending

for more than two years, is well underway in the sale of its Manhattan property by a New York-

based Sales Officer who was appointed by this Court along with a New York-based real estate

broker. The current proposed chapter 11 plan (ECF No 206)7 does nothing more than carry forth

the Genever Settlement Agreement and provide for a mechanism to complete litigation of the

Ownership Dispute in a forum chosen by the Individual Debtor’s largest (and possibly only)

creditor—a forum that all relevant parties were on board with until appointment of the Trustee.

The more efficient and economical approach is to allow the Genever (US) Case to proceed to

conclusion in this Court through confirmation of a chapter 11 plan.




          7
            Bravo Luck is the proponent of the chapter 11 plan currently pending in the Genever (US) Case, however,
this plan largely mirrors the chapter 11 plan previously proposed by the Debtor (ECF No. 164).

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                 11.      Most significantly, the Movants argue that, unless the Genever (US) Case

is transferred to the Connecticut Bankruptcy Court, the ownership disputes and characterization of

the Individual Debtor’s ownership in certain assets, namely the Sherry-Netherland Apartment that

Bravo Luck contends is its property, will need to be decided in multiple forums,8 leading to the

potential for conflicting judgments and issues with creditor notice and distributions. This is simply

untrue and the Movants’ proposed approach, including transfer of the Genever (US) Case, would

actually result in a far less economical and efficient administration of this case for all of the courts

and parties involved. Rather, the more economical and efficient manner to proceed is to deny the

Motion, keep the Genever (US) Case in this Court, and allow the BVI Litigation to proceed to a

final ruling on the Ownership Dispute as was originally contemplated between the parties—

including Genever (US)—to the Genever Settlement Agreement.

                 12.      There are two gating issues that further demonstrate why denial of venue

transfer is the more efficient way to proceed (which, again, is the factor weighed most heavily in

the “interest of justice” consideration). First, there is a dispute related to the Genever Settlement

Agreement. The Movants assert that “[n]othing in the Genever Settlement Agreement specifies in

what forum or venue substantive disputes related to the Sherry-Netherland Apartment have to be

resolved[,]” and that nothing in the Genever Settlement Agreement precludes the parties’ rights

from proceeding outside of the BVI or New York state court. See Motion, ¶¶ 51-53. The Movants,

however, are misrepresenting the context and understanding of the parties to the Genever

Settlement Agreement—likely the result of the Trustee not being involved in this case at that time.

                 13.      Section 7(b) of the Genever Settlement Agreement, in its entirety, provides:




            8
           The Trustee manufactured this issue by filing the Genever (US) Complaint against Bravo Luck on October
11, 2022, and filing, on the same day, a complaint against Bravo Luck and Qiang Guo on substantially similar bases
in the Individual Debtor Case in the Connecticut Bankruptcy Case. See Adv. Pro. No. 22-05027 (JAM), Connecticut
Bankruptcy Court.

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               Nothing herein shall prejudice the rights of any party, including
               Bravo Luck and PAX to proceed with the BVI Litigation, provided
               that PAX, Bravo Luck, Kwok, Guo or any of his or its affiliates
               reserve the right to assert claims in the Bankruptcy Court relating to
               its status as a creditor of the Debtor, and PAX reserves all rights to
               oppose such claims on any grounds. In addition, notwithstanding
               anything contained herein to the contrary, nothing in this Agreement
               shall prejudice the rights of any Party, including Bravo Luck and
               PAX, from proceeding with any and all claims, if any, against
               anyone, including Bravo Luck, Kwok, Guo, or any of his or its
               affiliates, and PAX or any of its affiliates, in BVI, State Court, or
               otherwise, and Bravo Luck and PAX reserve all rights to oppose
               such claims in the applicable forum.

Genever Settlement Agreement, ¶ 7(b). As a “Party” to the Genever Settlement Agreement along

with the Debtor and PAX, Bravo Luck’s understanding of the settlement, including the first

sentence of section 7(b), is that the Ownership Dispute related to the Genever Entities and the

Sherry-Netherland Apartment would be decided in the BVI, where PAX commenced suit.

Moreover, the second sentence of the section 7(b) was intended to not limit any other claims that

any “Party” (defined in the Genever Settlement Agreement as the Debtor, PAX, and Bravo Luck)

may have against anyone to any particular forum. Prior to appointment of the Trustee, it was clear

that the foregoing was the Parties’ intent with respect to the Genever Settlement Agreement, i.e.,

the overarching concept underlying the Genever Settlement Agreement was that the Ownership

Dispute would be heard in a non-bankruptcy court forum but any other disputes between the Parties

could be brought in or outside of this Court, with all Parties’ rights reserved to object to the forum.

See, e.g., Debtor’s Amended Motion to Approve Attached Stipulation of Settlement with Bravo

Luck and PAX (ECF No. 62, ¶¶ 3-4) (“The Settlement is principally designed to enable the Debtor

to proceed with a sale of the Residence while the Litigation Disputes continue to be adjudicated[,]”;

where “Litigation Disputes” is defined as “Prior to the commencement of the Chapter 11 case,

disputes existed in NYS court and in BVI involving, among others,[] the Debtor, the Debtor’s BVI

parent company, PAX and Bravo Luck[.]”); id., ¶ 9 (“The Settlement also contemplates that

adjudication of the Litigation Disputes will continue pending the sale process.”); Debtor’s
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Liquidating Plan of Reorganization (ECF No. 164) (“It is contemplated that the Ownership

Dispute will be determined outside of the Bankruptcy Court, unless Bravo Luck’s alternate

contention that it retains a monetary claim against the Debtor is not determined in the BVI Action

on the merits.”).

               14.     Because this Court approved the Genever Settlement Agreement by entry,

on October 8, 2021, of its Order Granting Debtor’s Second Renewed Motion to Approve the

Revised Settlement Agreement (ECF No. 141) (the “Settlement Order”), this Court is in the best

position to hear the dispute concerning the appropriate forum for the Ownership Dispute and

interpret its own Settlement Order and the Genever Settlement Agreement.                 Due to the

commencement of an adversary proceeding against Bravo Luck by Genever (US), this issue is no

longer hypothetical, but is a rapidly approaching reality that will need to be heard in the near term.

It is the exact opposite of judicial efficiency and economy to transfer this case and immediately

require the Connecticut Bankruptcy Court to get up to speed on the history of the Genever

Settlement Agreement and then interpret this Court’s Settlement Order and the Genever Settlement

Agreement. Additionally, transferring this case to the Connecticut Bankruptcy Court to hear and

determine a dispute related to the Genever Settlement Agreement will be duplicative and costlier

to the courts and the parties. Therefore, the interpretation of the Genever Settlement Agreement

is a gating issue that should be determined by this Court as the Court that entered the Settlement

Order, prior to this Court’s consideration of the venue transfer request—because if it is held that

the Genever Settlement Agreement requires the Ownership Dispute to be resolved as part of the

BVI Litigation, then there is no immediate need for transfer to the Connecticut Bankruptcy Court

or coordination with the Individual Debtor Case.

               15.     Even if the Genever Settlement Agreement is found to not limit the

Ownership Dispute to the BVI Litigation, it is still more efficient and in the interest of judicial

economy to allow the Ownership Dispute to be decided in the BVI.
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               16.     With respect to the BVI Litigation, the litigation has been pending for over

two years, including a year of discovery, and the parties thereto have already filed the equivalent

of a complaint, answer and counter-claims, and an answer to the counter-claims. To transfer venue

of the Genever (US) Case and allow the Trustee to bring the Ownership Dispute before the

Connecticut Bankruptcy Court (which the Trustee has already attempted to do by initiating an

adversary proceeding against Bravo Luck in the Individual Debtor Case to manufacture a basis to

transfer venue) is not only impermissible forum-shopping, but it will delay the resolution of these

important issues, duplicate work that has already been performed by each party and their counsel,

and be more expensive to everyone as a result of the duplication of work. In contrast, there is no

reason why the Trustee cannot litigate these issues in the BVI Litigation as he has stepped into the

shoes of the Individual Debtor against PAX’s claims asserted therein and has already retained

BVI counsel. See Individual Debtor Case, Order (A) Granting Application of Chapter 11 Trustee

for Entry of Order, Pursuant to Bankruptcy Code Sections 327, 328, and 330, Bankruptcy Rules

2014 and 2016, and Local Bankruptcy Rules 2014-1 and 2016-1, Authorizing and Approving

Retention and Employment of Harney Westwood and Riegels LP, as British Virgin Islands Counsel

to the Chapter 11 Trustee and (B) Authorizing and Approving Estate’s Entry into Director Services

Agreement (ECF No. 909).

               17.     In addition to being more efficient and economical—both to the courts and

the parties—denying the Motion and allowing the Genever (US) Case to proceed in this Court will

not prejudice creditors in the Individual Debtor Case. After all, if it is determined that Bravo Luck

has no claim (either as to ownership or debt), then all of the proceeds from the sale of the Sherry-

Netherland Apartment will presumably flow to the Individual Debtor’s creditors (if any). The

Movants argue that, because the Individual Debtors’ creditors were not noticed with respect to the

bar date in the Genever (US) Case, such creditors were prevented from asserting alter ego claims

and are being structurally subordinated to those creditors that were served with the bar date and
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filed claims directly against Genever (US). First, this argument is completely speculative because

no bar date has been set in the Individual Debtor Case. Once a bar date is established and lapses

in the Individual Debtor Case, there may be no creditors with valid claims against the Individual

Debtor, including, but not limited to, because the PAX judgment against the Individual Debtor is

currently on appeal. Second, this argument is only relevant if Bravo Luck is determined not to be

the ultimate beneficial owner of the Genever Entities and the Sherry-Netherland Apartment. If the

Ownership Dispute is resolved in Bravo Luck’s favor, then there is no reason for the Genever (US)

Case to be transferred to the Connecticut Bankruptcy Court and zero reason for the Genever (US)

Case, at that point, to be jointly administered with the Individual Debtor Case. Moreover, transfer

of the Genever (US) Case and coordination with the Individual Debtor Case will increase the

Genever (US) estate’s costs and expenses, as well as the costs and expenses incurred by parties

involved in the Genever (US) Case, due to the much more active docket9 in the Individual Debtor

Case. In contrast, if the Ownership Dispute is decided adversely to Bravo Luck, such that Bravo

Luck is not found to be the ultimate owner of the Genever Entities, a chapter 11 plan for Genever

(US) could be amended to provide for a subsequent notice period for the Individual Debtor’s

creditors and proceeds of the sale of the Sherry-Netherland Apartment could be escrowed until

such subsequent claims bar date has expired.

                 ii.      Whether the Parties Would be Able to Receive a Fair Trial in Each of the
                          Possible Venues

                 18.      While Bravo Luck does not question the impartiality of the Connecticut

Bankruptcy Court, the Individual Debtor Case is replete with issues and allegations that are

completely unrelated to the Ownership Dispute. Although the Ownership Dispute is a discrete

issue that should be decided on its own merits, should the Ownership Dispute be brought before


         9
           In the eight months that the Individual Debtor Case has been pending, there are almost a thousand docket
entries compared to just over 200 docket entries in the Genever (US) Case, which has been pending for two years.

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the Connecticut Bankruptcy Court, there would certainly be miscellaneous, unrelated conjecture

injected into the matter. The Trustee demonstrated exactly this tactic in the Motion by making

unsupported accusations and conclusions against Bravo Luck and the Ownership Dispute and the

introduction of completely irrelevant allegations, such as those related to the Lady May.

                       19.      Additionally, Genever (US) is a second tier downstream subsidiary, where

the ownership of the ultimate parent is very much in dispute. The Individual Debtor’s creditors

are not the same as Genever (US)’s creditors nor has any court found them to be, despite the

unsubstantiated allegations by the Trustee and PAX to the contrary. Therefore, this factor (and

the venue determination as a whole) should not be based on the Movants’ argument that the

Connecticut Bankruptcy Court is in the best position to address the rights of all of the Individual

Debtor’s creditors, Motion, ¶ 39, because the Individual Debtor’s creditors have not been found to

hold claims against Genever (US).10

                       iii.     Remaining Factors—New York Has an Interest in Retaining Jurisdiction;
                                Enforceability of Judgment11; and Genever (US)’s Original Choice of
                                Forum

                       20.      In addition to the economic and efficient administration of the bankruptcy

estate (which strongly weighs against transfer in this case), other factors also weigh heavily against

a change of venue. In particular, as detailed above, Genever (US)’s primary asset is located in

New York and subject to New York state laws, including, but not limited, to complicated real

estate and co-op laws that will be implicated as the sale process of the Sherry-Netherland

Apartment proceeds to conclusion. New York and this Court have an interest in resolving this sale




            10
           There is a simple mechanism to preserve the status quo pending resolution of the Ownership Dispute and
a determination as to whether the Individual Debtor’s creditors hold alter ego claims against Genever (US)—an escrow
of the proceeds from the sale of the Sherry-Netherland Apartment.

            11
                 Bravo Luck agrees with the Movants that the enforceability of judgment is a neutral factor. See Motion,
¶ 41.

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process and authorizing and, where necessary, interpreting, the attendant approvals and transfer

documents.

                 21.      The Genever (US) Case was also the first-filed case in comparison to the

Individual Debtor Case and, thus, the continuation of the Genever (US) Case in this Court should

be given appropriate deference. The Movants argue that the Connecticut Bankruptcy Court has a

“strong interest” in deciding controversies involving the Individual Debtor because of the pending

Individual Debtor Case. See Motion, ¶ 40. This Court, however, has an equal interest in deciding

controversies involving Genever (US) and the extent of its estate, and this Court has an even

greater interest in deciding such issues in the Genever (US) Case because of (i) the Manhattan

location of the central asset at issue; (ii) the controversies that this Court has already heard and

decided; (iii) the fact that the Genever (US) Case has been pending for two years (including almost

a year and a half prior to the Individual Debtor’s petition date); and (iv) all that remains in this

case is to confirm a chapter 11 plan12 to address claims resolutions and distributions after resolution

of the Ownership Dispute. To the extent the Trustee wants to transfer venue to jointly administer

the Genever (US) Case and Individual Debtor Case, the Trustee should seek to transfer venue of

the Individual Debtor Case to this Court—as the second-filed case and because keeping the

Genever (US) Case in this Court promotes efficient administration and judicial economy.

                 22.      Taken as a whole, and with efficient administration and judicial economy

being afforded the most significance, the interest of justice analysis clearly weighs in favor of

denial of the Motion and retention of this Court’s jurisdiction over the Genever (US) Case.


            12
           Prior to the commencement of the Individual Debtor Case, it was anticipated that such a chapter 11 plan
was going to be consensually agreed to amongst all the parties in the Genever (US) Case. See Debtor’s Disclosure
Statement (ECF No. 165) (“The Debtor anticipates that the Plan will gain the support of creditors and achieves the
overriding goal of implementing the parties’ Global Settlement establishing procedures for the marketing and sale of
the Debtor’s Residence while the pending litigations between Bravo Luck Limited, Miles Kwok and Pacific Alliance
Asian Opportunity Fund proceed to conclusion.”) (formatted from uppercase original text).



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            B.    Transfer of this Case is Would Not Increase the Convenience of the Parties.

                  23.      As to convenience of the parties, courts analyze the following factors:

                           1.   proximity of creditors of every kind to the court;
                           2.   proximity of the debtor;
                           3.   proximity of witnesses necessary to the administration of the estate;
                           4.   location of the assets;
                           5.   economic administration of the estate; and
                           6.   necessity for ancillary administration if liquidation should result.

Dunmore, 380 B.R. at 676 (citing In re B.L. of Miami, 294 B.R. 325, 329 (Bankr. D. Nev. 2003)

(citing Consol. Equity Prop., Inc. v. Southmark, Corp. (In re Consol. Equity Prop., Inc.), 136 B.R.

261, 266 (D. Nev. 1991); CORCO, 596 F.2d at 1247)). “The most weight is given to the promotion

of the economic and efficient administration of the estate.” Id. All of the factors regarding the

convenience of the parties weigh in favor of denying the Motion.

                  i.       Proximity of Creditors

                  24.      The Movant asserts that this first factor either favors transfer or is neutral,

however, it clearly favors denial of the Motion, such that venue of the Genever (US) Case remains

with this Court. The Sherry-Netherland, located in New York, holds an administrative claim

against Genever (US) and is a critical creditor in light of its consent rights related to the sale of the

Sherry-Netherland Apartment. Furthermore, PAX itself filed the New York Action against the

Individual Debtor in New York Supreme Court. Whereas, in comparison, while Connecticut may

be a neighboring state, neither the creditors13 nor Genever (US)’s property have any connection to

Connecticut.




            13
           Additionally, the Local Rules of Bankruptcy Procedure for the District of Connecticut require parties
appearing in the Connecticut Bankruptcy Court to be represented by counsel not only barred in the State of
Connecticut, but with an office in Connecticut. This greatly limits parties’ ability to appear in the Individual Debtor
Case because there is a smaller bar of bankruptcy attorneys with offices in Connecticut—simply due to the State’s
small geographical size. For example, Bravo Luck’s undersigned counsel does not have an office in Connecticut and,
thus, Bravo Luck would need to engage separate Connecticut counsel before it could appear in the Individual Debtor
Case—and in the Genever (US) Case if it would be transferred to the Connecticut Bankruptcy Court.

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               ii.      Proximity of the Debtor

               25.      While the Debtor may be controlled by the Trustee by virtue of the

Corporate Governance Order, the Debtor was created with the purpose of holding real estate and,

at least initially, to hold real estate located in New York City. Moreover, the Trustee himself is

based in New York City. See https://www.paulhastings.com/professionals/lucdespins. Therefore,

this factor also favors denial of the Motion.

               iii.     Proximity of Witnesses Necessary to Estate Administration

               26.      Admittedly, while some of the witnesses in this case may reside outside of

New York (and for that matter, outside of Connecticut as well), several are native to New York,

including any potential witness on behalf of the Sherry-Netherland. Additionally, New York is a

hub of national and international travel and, in fact, most out-of-state witnesses appearing in the

Connecticut Bankruptcy Court are likely to fly into one of New York’s airports and arrange travel

to Connecticut from there.

               27.      Additionally, even if some witnesses will be involved in both the Genever

(US) Case and the Individual Debtor Case, this does not in any way speak to the proximity of

witnesses necessary to estate administration. Should the Ownership Dispute be heard in the

Connecticut Bankruptcy Court (which Bravo Luck strongly believes would be inappropriate), the

witnesses may still need to appear on different dates for the Ownership Dispute and other issues

in the Individual Debtor Case. Transfer of venue would not ensure that witnesses would take fewer

trips, or incur less expense, to appear in litigation related to Genever (US) or the Individual Debtor.

               28.      Again, the potential witnesses related to the Genever (US) Case are either

already located in New York or would have an easier time (and likely more cost efficient)

arranging travel to New York instead of Connecticut. Therefore, the proximity of witnesses

necessary to estate administration favors denial of the Motion


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               iv.     Location of the Assets

               29.     Genever (US)’s primary asset is the Sherry-Netherland Apartment, located

on Fifth Avenue in New York City. See In re Kona 62 B.R. at 172 (citing favorably to In re

Greenridge Apartments, 13 B.R. 510 (Bankr. D. Haw. 1981), which “held that the favored forum

is the district in which the primary asset is located.”). Additionally, in light of the ongoing sales

process for the Sherry-Netherland Apartment, decisions regarding New York state law and, in

particular, New York real estate or co-operative law, may become necessary. This Court is in a

better position to address those aspects of the Genever (US) Case in light of its familiarity with

New York state law by virtue of where this Court sits. See id. (“In the instant case, the transaction

for the purchase of the Hotel took place in Hawaii and the disputes concerning leases, liens on the

property, and the propriety of the purchase transactions will be governed by Hawaii law. In the

course of the proceedings, the Bankruptcy Court also may be required to make rulings in

accordance with the laws of Hawaii, and the Court for the District of Hawaii is in a better position

to make such rulings.”).

               30.      The Movants argue that location is a less compelling factor in light of the

relative proximity between New York and Connecticut. To the extent that argument is relevant, it

can at most make the location factor neutral. This argument, however, misses the point of the

importance of the location of the assets to the Genever (US) Case, where the central plan for

creditor recoveries involves the effective marketing, sale and transfer of the Sherry-Netherland

Apartment. See In re Rehoboth Hospitality, LP, 2011 Bankr. LEXIS 3992, at *14-*16 (Case No.

11-12798 (KG)) (Bankr. D. Del. 2011) (finding that venue was more appropriate in jurisdiction

where debtor’s primary asset (a hotel) was located because that bankruptcy court had “greater

familiarity with the locale and physical property at issue” and because the bankruptcy court would

be required to interpret and apply that jurisdiction’s real property law, which the bankruptcy court

sitting in the same jurisdiction was “uniquely positioned to determine” and which would save the
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estate time and money given that court’s “familiarity and knowledge with those issues’).

Moreover, the Genever (US) Case is essentially a single asset case and, thus, “the location of the

lone improved real estate asset is of particular concern to the Court, especially in the event of a

potential liquidation, and the case is ‘better administered by a court in the district in which it is

located.’” Id.., 2011 Bankr. LEXIS 3992, at *16 (citing In re Midland Assoc’s, 121 B.R. 459, 461

(Bankr. E.D. Pa. 1990)). Thus, this factor strongly weighs in favor of denial of the Motion.

               v.      Economic Administration of the Estate

               31.     As extensively addressed above, Genever (US)’s estate will be more

economically administered if its case remains in this Court. Again, Genever (US)’s case has been

pending for two years and is substantively resolved in light of the Genever Settlement Agreement,

which set the path for Genever (US)’s ultimate exit from bankruptcy after the sale of the Sherry-

Netherland and distribution to creditors with allowed claims after resolution of the Ownership

Dispute via the BVI Litigation. It cannot be overstated that the entire purpose of the Genever

Settlement Agreement was to create a framework for efficiently resolving this case. Venue transfer

will undoubtedly vitiate all of the hard work that went into that effort. The Trustee is not a trustee

in the Genever (US) Case. Rather, he is at best standing in the shoes of a disputed equity holder

of a downstream debtor in possession. Additionally, there are gating issues related disagreement

between the Trustee and Bravo Luck about the parties’ intentions with respect to the Genever

Settlement Agreement and the appropriate forum to hear the Ownership Dispute—the critical

importance of which is highlighted by the adversary proceedings commenced against Bravo Luck

by the Debtor and Trustee just three days before this Objection was due. To further judicial

economy, this dispute should be heard by this Court as it is familiar with the history and hard-

fought negotiations that underpinned the Genever Settlement Agreement and, as the Court that

entered the Settlement Order, is in the best position to interpret the order.


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               32.     It will also cost the estates and parties time and expense to get the

Connecticut Bankruptcy Court up to speed on the Genever (US) Case generally, as well as the

Ownership Dispute specifically, when the Ownership Dispute has already been pending in the BVI

Litigation for two years and the Trustee has retained BVI counsel. Furthermore, the Individual

Debtor Case is much more active in light of the Trustee’s investigations and to draw Genever (US)

and its creditors into the chaos of that case at this time would also increase the Genever (US)

estate’s fees and costs to the detriment of economic administration.

               33.     Lastly, denial of Motion at this time will not prejudice the Trustee or any of

the Individual Debtors’ creditors. As detailed above, it is more efficient and economical and

promotes judicial economy to keep the Genever (US) Case with this Court until the Ownership

Dispute is resolved in the BVI Litigation (or another forum depending on resolution of the Genever

Settlement Agreement dispute). Moreover, if the Ownership Dispute is ultimately resolved against

Bravo Luck, such that the Individual Debtor’s creditors may have alter ego claims against Genever

(US), the Court can easily preserve the status quo with respect to any such claims.

               vi.     Necessity for Ancillary Administration if Liquidation Should Result

               34.     When this factor is afforded weight, it is based on the location of the

debtor’s assets. See, e.g., In re Hermitage Inn Real Estate Holding Co., LLC, 2019 Bankr. LEXIS

1862, *44 (Case No. 19-10214) (Bankr. D. Vt. June 19, 2019) (“The inquiry about possible

ancillary administration as a factor in a venue determination is only rarely afforded significant

weight, and, when it is, the inquiry focuses on the location of a debtor's assets.”) (internal citation

omitted). In fact, in both Dunmore and Hermitage, the courts weighed this factor in favor of the

location where the debtor’s assets were located because it was best for the marketing and sale of

those asset to be conducted as close to the assets’ location as possible. See Dunmore, 380 B.R. at

677 (“another factor pointing to California venue is that the Debtor is already in the process of

liquidating. Marketing and selling its California real estate assets can best be overseen by a
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California bankruptcy court with greater familiarity with the market.”) (internal citation omitted);

Hermitage Inn, 2019 Bankr. LEXIS 1862, *44-*46; see also In re Rehoboth Hospitality, 2011

Bankr. LEXIS 3992, at *14-*16. Here, Genever (US) is liquidating after the Sherry-Netherland

Apartment is sold via the sale process approved pursuant to the Settlement Order and, thus, this

factor is particularly relevant and weighs in favor of denial of the Motion.

               35.     The Movant argues that the Connecticut Bankruptcy Court is familiar with

the Sherry-Netherland Apartment and surrounding issues and, therefore, is able to handle any

ancillary liquidation proceedings. See Motion, ¶ 50. This factor, however, does not relate to

whether a court in a jurisdiction other than the jurisdiction where the debtor’s assets are located

may be able to get up to speed on ancillary liquidation proceedings, but rather is that such ancillary

administration should occur in the same state that liquidation occurred. Just as in Dunmore,

Hermitage, and Rehoboth, venue should lie in the jurisdiction where the assets being liquidated

are located because the court in that jurisdiction is familiar with the market and best able to oversee

the marketing and asset sale. Here, that jurisdiction is New York.

               36.     Based on all of the foregoing factors, and in particular the economic

administration of the estate and the necessity of ancillary liquidation proceedings, the convenience

of the parties heavily weighs in favor of denial of the Motion and jurisdiction of the Genever (US)

Case remaining in this Court.

                                      [Signature page follows]




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                                      CONCLUSION

              WHEREFORE, for the reasons set forth above, Bravo Luck respectfully requests

that the Court deny the Motion.

Dated: October 14, 2022
       Philadelphia, PA
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